Case 8:20-cv-00587-WFJ-SPF Document 24 Filed 06/22/20 Page 1 of 2 PageID 158



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA


 ROBERT MERCED, Individually and on
 behalf of the ESTATE OF ELVIA
 RIVERA,

             Plaintiffs,                          No. 8:20-cv-00587

       v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

             Defendant.



            NOTICE OF COMPLIANCE WITH LOCAL RULES, FEES, AND
                    PRO HAV VICE FILING REQUIREMENTS

       Pursuant to the ORDER signed June 5, 2020 by the Hon. William F. Jung, counsel for

Novartis Pharmaceuticals Corporation hereby files this Notice of Compliance with Local Rules

2.02 and 2.03, and state that Robert E. Johnston, Donald R. McMinn, and Andrew L. Reissaus

have paid all required fees, registered with the Middle District of Florida’s Electronic Court

Filing System, and read and understand the Local Rules.
Case 8:20-cv-00587-WFJ-SPF Document 24 Filed 06/22/20 Page 2 of 2 PageID 159



Dated: June 3, 2020                          Respectfully submitted,

                                             By: /s/ Michael J. Thomas
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                                CERTIFICATE OF SERVICE

       I certify that on this 22nd day of June 2020, I electronically filed the Notice of Compliance

with the Clerk of the Court by using the CM/ECF system.


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                                                     /s/ Michael J. Thomas
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